                             Case 1:22-cr-00198-JEB Document 1 Filed 05/18/22 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                                UNITED STATES DISTRICT COURT
                                                                                              for the
                                                                                  District of &ROXPELD

                     United States of America                                                     )
                                v.                                                                )
                                                                                                  )          Case No.
                   RODNEY MILSTREED
                                                                                                  )
                     DOB: XXXXXX                                                                  )
                                                                                                  )
                                                                                                  )
                                  Defendant(s)


                                                                   CRIMINAL COMPLAINT
           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                                    January 6, 2021                               in the county of                                          in the
                                LQWKH'LVWULFWRI                  &ROXPELD , the defendant(s) violated:

              Code Section                                                                                       Offense Description
        18 U.S.C. §§ 111(a)(1) and (b)- Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon or Inflicting Bodily Injury;
        18 U.S.C. § 113(a)(4)- Assault by striking, beating, or wounding;
        18 U.S.C. § 113(a)(5)- Simple assault;
        18 U.S.C. § 231(a)(3)- Civil Disorder;
        18 U.S.C. §§ 1512(c)(2)- Obstruction of an Official Proceeding;
        18 U.S.C. § 1752(a)(1)- Entering and Remaining in a Restricted Building or Grounds;
        18 U.S.C. § 1752(a)(2)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds;
        18 U.S.C. § 1752(a)(4)- Engaging in Physical Violence in a Restricted Building or Grounds;
        40 U.S.C. § 5104(e)(2)(D)- Disorderly Conduct in a Capitol Building;
        40 U.S.C. § 5104(e)(2)(E)- Impeding Passage Through the Capitol Grounds or Buildings;
        40 U.S.C. § 5104(e)(2)(F)- Act of Physical Violence in the Capitol Grounds or Buildings.


          This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




          9
          u     Continued on the attached sheet.


                                                                                                                                           Complainant’s signature

                                                                                                                                Nicole Fuller, Special Agent
                                                                                                                                            Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                                                                                        2022.05.18
Date:                05/18/2022
                                                                                                                                                        17:19:18 -04'00'
                                                                                                                                               Judge’s signature

City and state:                                 :DVKLQJWRQ'&                                                Robin M. Meriweather, U.S. Magistrate Judge
                                                                                                                                            Printed name and title
